       Case 19-50130-btb       Doc 9    Entered 02/04/19 14:58:04        Page 1 of 11



 1   CANDACE C. CARLYON, ESQ.
     Nevada Bar No. 2666
 2   TRACY M. O'STEEN, ESQ.
     Nevada Bar No. 10949
 3   CLARK HILL PLC
     3800 Howard Hughes Parkway, Suite 500
 4   Las Vegas, NV 89169
     Telephone:   (702) 862-8300
 5   Facsimile:   (702) 862-8400
     CCarlyon@ClarkHill.com
 6   TOSteen@ClarkHill.com
     [Proposed] Counsel for Debtors in Possession
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                                         DISTRICT OF NEVADA
 9

10    In re                                            Case No.: BK-19-50130-btb
                                                       Chapter 11
11    DC SOLAR SOLUTIONS, INC.,
                                                       Proposed Joint Administration with:
12                                Debtor.               19-50102-btb    Double Jump, Inc.
                                                        19-50103-btb    Dora Dog Properties, LLC
13                                                      19-50104-btb    Dog Blue Properties, LLC
                                                        19-50105-btb    Brandy Boy Properties, LLC
14                                                      19-50106-btb    475 Channel Road, LLC
                                                        19-50108-btb    Park Road, LLC
15                                                      19-50109-btb    140 Mason Circle, LLC
                                                        19-50131-btb    DC Solar Distribution, Inc.
16
                                                       DEBTORS’ EMERGENCY MOTION FOR
17                                                     ORDER DIRECTING JOINT
                                                       ADMINISTRATION OF CASES UNDER
18                                                     BANKRUPTCY RULE 1015(b)
19                                                     Hearing Date: OST Requested
                                                       Hearing Time: OST Requested
20

21

22            Double Jump, Inc., Dora Dog Properties, LLC; Dog Blue Properties, LLC; Brandy Boy
23   Properties, LLC; 475 Channel Road, LLC; Park Road, LLC, 140 Mason Circle, LLC; DC Solar
24   Solutions, Inc.; and DC Solar Distribution, Inc., the debtors and debtors in possession in the above-
25   captioned cases (collectively, the “Debtors”), hereby move this Court for entry of an order under
26   Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) providing for
27   the joint administration of the Debtors’ separate Chapter 11 Cases (defined below) for procedural
28
       Case 19-50130-btb      Doc 9     Entered 02/04/19 14:58:04        Page 2 of 11



 1   purposes only (the “Motion”). In support of the Motion, the Debtors rely upon and incorporate by

 2   reference the Omnibus Declaration of Seth R. Freeman in Support of the First Day Motions (the

 3   “First Day Declaration”), filed with the Court in In re Double Jump, Inc., [Proposed] Lead Case No.

 4   19-50102-btb as ECF No. 12.

 5           Respectfully submitted this 4th day of February, 2019.

 6                                                         CLARK HILL PLC
 7

 8
                                                            CANDACE C. CARLYON, ESQ.
 9                                                          Nevada Bar No. 2666
                                                            TRACY M. O’STEEN, ESQ.
10                                                          Nevada Bar No. 10949
                                                            3800 Howard Hughes Parkway, Suite 500
11                                                          Las Vegas, NV 89169
                                                           [Proposed] Counsel for Debtors in Possession
12

13                             MEMORANDUM OF POINTS AND AUTHORITIES
14                                                    I.

15                                          JURISDICTION AND VENUE

16           1.     This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

17 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and the Motion in

18 this District is proper under 28 U.S.C. §§ 1408 and 1409.

19           2.     The statutory predicate for the relief requested herein is Bankruptcy Rule 1015(b).

20           3.     Pursuant to Rule 9014.2 of the Local Bankruptcy Rules for the United States

21 Bankruptcy Court for the District of Nevada (the “Local Bankruptcy Rules”), the Debtors consent

22 to the entry of a final judgment or order with respect to this Motion if it is determined that this

23 Court would lack Article III jurisdiction to enter such final order or judgment absent the consent of

24 the parties.

25

26

27

28

                                                     -2-
       Case 19-50130-btb      Doc 9    Entered 02/04/19 14:58:04       Page 3 of 11



 1                                                  II.

 2                                            BACKGROUND

 3           4.     On January 30, 2019 (the “Petition Date”), Holdings and the Real Estate Debtors

 4 (as defined below) each commenced a case by filing a petition for relief under chapter 11 of the

 5 Bankruptcy Code, and on February 3, 2019, DC Solar Solutions, Inc. and DC Solar Distribution,

 6 Inc. each commenced a case by filing a petition for relief under chapter 11 of the Bankruptcy Code

 7 (collectively, the “Chapter 11 Cases”). The Debtors are requesting that the Chapter 11 Cases be

 8 jointly administered.

 9           5.     The Debtors continue to operate their businesses and manage their properties as

10 debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

11           6.     To date, no creditors’ committee has been appointed in these Chapter 11 Cases by

12 the Office of the United States Trustee for the District of Nevada (the “United States Trustee”). No

13 trustee or examiner has been appointed in the Debtors’ Chapter 11 Cases.

14           7.     DC Solar Solutions, Inc., DC Solar Distribution, Inc., and DC Solar Freedom, Inc.

15 (together, the “DC Solar” companies or the “Company”) has become the largest manufacturer of

16 mobile solar generators over the last decade. The Company designs, manufactures, and distributes

17 mobile solar generators, mobile solar electric vehicle chargers, mobile solar light towers, and

18 mobile solar power stations to private enterprises, municipalities, and universities. The Company

19 was founded in 2009, and today has deployed its units across the United States.

20           8.     In addition to DC Solar Solutions, Inc. and DC Solar Distribution, Inc., the Debtors

21 are comprised of Double Jump, Inc., which holds 100% of the stock in DC Solar Solutions, Inc. and

22 DC Solar Distribution, Inc., as well as six limited-liability companies which primarily hold real

23 estate assets (both commercial and residential) for rent or lease, being Dog Blue Properties, LLC;

24 Dora Dog Properties LLC; Brandy Boy Properties, LLC; 475 Channel Road, LLC; 140 Mason

25 Circle LLC; and Park Road LLC (the “Real Estate Debtors”). The assets of the Real Estate Debtors

26 will be pledged as collateral in connection with the proposed DIP Financing described in the First

27 Day Declaration.

28

                                                    -3-
       Case 19-50130-btb        Doc 9     Entered 02/04/19 14:58:04        Page 4 of 11



 1           9.      As set forth in the First Day Declaration, on December 18, 2018, the federal

 2 government seized funds from and froze all bank accounts associated with the DC Solar companies,

 3 allegedly in connection with a purported “investment fraud” perpetrated by the Company. On the

 4 same day, agents from the FBI and the IRS executed sweeping search and/or seizure warrants of the

 5 DC Solar business headquarters located in Benicia, California. Agents seized hundreds of items

 6 essential for the Company to conduct and operate its ongoing businesses, including, but not limited

 7 to, computer servers, computers, and hard copy files containing corporate books and records,

 8 investment agreements, lease agreements, vendor agreements, communications with investors and

 9 customers, and invoices for insurance and utility providers. Left without any liquid assets to fund

10 the Company’s business or basic communications and record-keeping infrastructure, the Company

11 was forced to shut down and lay off its entire workforce the week before Christmas.

12 Approximately 100 employees were laid off, and the Company was unable to pay wages owed to

13 those employees. Following the seizure, the Company has continued to receive strong support from

14 its employees, its customers, its partners, and its investors. Buoyed by the support of its key

15 constituencies, the Company is securing debtor-in-possession financing and commenced these

16 Chapter 11 Cases in order to reopen its business operations so that it may continue to serve its

17 customers and other stakeholders, compensate its employees, and continue to deliver and develop

18 its best-in-class products and services for the benefit of all constituencies.

19           10.     In order to alleviate any concerns with regard to prior management, the Debtors

20 have engaged an experienced independent restructuring advisor, Seth Freeman of GlassRatner, to

21 act as the Corporate Restructuring Officer and lead the Debtors through the reorganization process.

22 The DC Solar companies and Double Jump, Inc. have also engaged new independent directors to

23 aid with the reorganization process.

24           11.     Additional factual background information regarding the Debtors, including their

25 business operations, their corporate and capital structure, and the events leading to these Chapter 11

26 Cases, is set forth in detail in the First Day Declaration.

27

28

                                                       -4-
       Case 19-50130-btb       Doc 9     Entered 02/04/19 14:58:04       Page 5 of 11



 1                                                    III.

 2                                          RELIEF REQUESTED

 3           12.     By this Motion, the Debtors seek entry of an order, under Bankruptcy Rule 1015(b),

 4 jointly administering the Chapter 11 Cases for procedural purposes only. Schedules, Statements,

 5 and Proofs of Claim will be filed in each individual case.

 6           13.     In addition, the Debtors request that the Court make separate docket entries on the

 7 docket of each of the Chapter 11 Cases (except that of Double Jump, Inc.) substantially as follows:

 8           An order has been entered in this case consolidating this case with the case of
             Double Jump, Inc., Case No. 19-50102-btb, for procedural purposes only and
 9           providing for its joint administration in accordance with the terms thereof. The
             docket in Case No. 19-50102-btb should be consulted for all matters affecting
10           this case.
11           14.     For the reasons set forth herein, the Debtors submit that the relief requested herein

12 is in the best interests of the Debtors, their estates, creditors, stakeholders and other parties in

13 interest, and therefore, should be granted.

14                                                    IV.

15                                              BASIS FOR RELIEF

16           15.     Bankruptcy Rule 1015(b) provides that if two or more petitions are pending in the

17 same court by or against a debtor and an affiliate, the court may order joint administration of the

18 estates of the debtor and such affiliates.

19           16.     Solutions, Freedom, and Distribution are all companies with affiliated operations,

20 and 100% of the stock is owned by Double Jump, Inc., the proposed lead debtor. Additionally, the

21 Real Estate Debtors are owned by Jeffrey and Paulette Carpoff. As such, all of the Debtors are

22 “affiliates” as that term is defined in Bankruptcy Code section 101(2) and as used in Bankruptcy

23 Rule 1015(b). Thus, joint administration of the Debtors’ cases is appropriate under Bankruptcy

24 Rule 1015(b).

25           17.     An order of joint administration relates to the routine administration of a case and

26 “is designed in large part to promote procedural convenience and cost efficiencies which do not

27 affect the substantive rights of claimants or the respective debtor estates.”        In re Las Torres

28 Development, L.L.C., 413 B.R. 687, 693 (Bankr. S.D. Tex. 2009) (quoting In re McKenzie Energy

                                                       -5-
       Case 19-50130-btb       Doc 9     Entered 02/04/19 14:58:04        Page 6 of 11



 1 Corp., 228 B.R. 854, 874 (Bankr. S.D. Tex. 1998)). See also Advisory Committee Note to Rule

 2 1015 (1983).

 3           18.     Joint administration of the Chapter 11 Cases will permit the Clerk of the Court to

 4 use a single general docket for the Debtors’ cases and to combine notices to creditors and other

 5 parties in interest of the Debtors’ respective estates. Indeed, the Debtors anticipate that almost all

 6 of the notices, applications, motions, other pleadings, hearings, and orders in these cases will relate

 7 to all of the Debtors.

 8           19.     Joint administration will also save time and money and avoid duplicative and

 9 potentially confusing filings by permitting counsel for all parties in interest to file the papers in one

10 case rather than in multiple cases.

11           20.     In addition, joint administration will protect parties in interest by ensuring that

12 parties in each of the Debtors’ respective Chapter 11 Cases will be apprised of the various matters

13 before the Court.

14           21.     Finally, joint administration will ease the burden on the office of the United States

15 Trustee in supervising these bankruptcy cases. Consequently, joint administration will reduce costs

16 and facilitate a more efficient administrative process.

17           22.     By jointly administering the Debtors’ cases, the rights of the respective creditors

18 and stakeholders of each of the Debtors will not be adversely affected. Each creditor and other

19 party in interest will maintain whatever rights it has against the particular estate in which it

20 allegedly has a claim or right, through a more efficient method of administration.

21                                                    V.

22                                                 NOTICE

23           23.     Notice of this Motion shall be given to (a) the Office of the United States Trustee;

24 (b) the holders of the 20 largest unsecured claims against the Debtors in each of their bankruptcy

25 cases; (c) the United States Attorney for the Eastern District of California, Attn: McGregor W.

26 Scott; (d) Double Jump’s proposed post-petition debtor in possession lender; and (e) the Internal

27 Revenue Service. The Debtors submit that no other or further notice need be provided.

28

                                                      -6-
      Case 19-50130-btb        Doc 9    Entered 02/04/19 14:58:04       Page 7 of 11



 1                                                  VI.

 2                                         NO PRIOR REQUEST

 3           24.    No previous request for the relief sought herein has been made to this Court or any

 4 other court.

 5                                                 VII.

 6                                           CONCLUSION

 7           Based upon the above, the Debtors respectfully request that this Court enter an order,

 8 substantially in the form attached hereto as Exhibit 1, granting the relief sought herein and granting

 9 such other and further relief as may be just and proper.

10           Respectfully submitted this 4th day of February, 2019.

11
                                                           CLARK HILL PLC
12

13
                                                           ____________________
14                                                         CANDACE C. CARLYON, ESQ.
                                                           Nevada Bar No. 2666
15                                                         TRACY M. O’STEEN, ESQ.
                                                           Nevada Bar No. 10949
16                                                         3800 Howard Hughes Parkway, Suite 500
                                                           Las Vegas, NV 89169
17
                                                           [Proposed] Counsel for Debtors in
18                                                         Possession
19

20

21

22

23

24

25

26

27

28

                                                     -7-
     Case 19-50130-btb   Doc 9   Entered 02/04/19 14:58:04   Page 8 of 11



 1

 2                                      EXHIBIT 1
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26                                      EXHIBIT 1
27

28
       Case 19-50130-btb        Doc 9   Entered 02/04/19 14:58:04       Page 9 of 11



 1

 2

 3

 4

 5

 6

 7
     CANDACE C. CARLYON, ESQ.
 8   Nevada Bar No. 2666
     TRACY M. O'STEEN, ESQ.
 9   Nevada Bar No. 10949
     CLARK HILL PLC
10   3800 Howard Hughes Parkway, Suite 500
     Las Vegas, NV 89169
11   Telephone:   (702) 862-8300
     Facsimile:   (702) 862-8400
12   CCarlyon@ClarkHill.com
     TOSteen@ClarkHill.com
13   [Proposed] Counsel for Debtors in Possession

14                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
15
      In re                                           Case No.: BK-19-50130-btb
16                                                    Chapter 11
      DC SOLAR SOLUTIONS, INC.,
17                                                    Proposed Joint Administration with:
                                  Debtor.              19-50102-btb    Double Jump, Inc.
18                                                     19-50103-btb    Dora Dog Properties, LLC
                                                       19-50104-btb    Dog Blue Properties, LLC
19                                                     19-50105-btb    Brandy Boy Properties, LLC
                                                       19-50106-btb    475 Channel Road, LLC
20                                                     19-50108-btb    Park Road, LLC
                                                       19-50109-btb    140 Mason Circle, LLC
21                                                     19-50131-btb    DC Solar Distribution, Inc.
22                                                    Hearing Date:
                                                      Hearing Time:
23
      [PROPOSED] ORDER GRANTING DEBTORS’ EMERGENCY MOTION FOR ORDER
24     DIRECTING JOINT ADMINISTRATION OF CASES UNDER BANKRUPTCY RULE
                                   1015(B)
25
              Upon the motion (the “Motion”) of the Debtors for entry of an order under Bankruptcy Rule
26
     1015(b) (directing joint administration of these cases and administratively consolidating the
27
     respective chapter 11 cases of each Debtor for procedural purposes only; and upon consideration of
28
      Case 19-50130-btb        Doc 9    Entered 02/04/19 14:58:04         Page 10 of 11



 1 the First Day Declaration; and due and sufficient notice of the Motion having been given under the

 2 particular circumstances; and it appearing that no other or further notice is necessary; and it

 3 appearing that the relief requested in the Motion is in the best interests of the Debtors, their estates,

 4 their creditors, and other parties in interest; and after due deliberation thereon; and for good and

 5 sufficient cause appearing:

 6          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

 7          1.       The Motion is GRANTED as set forth herein.

 8          2.       Each of the above-captioned Chapter 11 Cases of the Debtors will be jointly

 9 administered by the Court. Schedules, Statements, and Proofs of Claim will be filed in each

10 individual case. All other papers shall be filed in the lead case, Double Jump, Inc., Case No. 19-

11 50102-btb, and shall indicate on the caption which case(s) the paper relates to.

12          3.       A docket entry shall be made in each of the Chapter 11 Cases (except that of

13 Double Jump, Inc.) substantially as follows:

14           An order has been entered in this case consolidating this case with the case of Double
15           Jump, Inc., Case No. 19-50102-btb, for procedural purposes only and providing for its
             joint administration in accordance with the terms thereof. The docket in Case No. 19-
16           50102-BTB should be consulted for all matters affecting this case.

17           4.      The Debtors are authorized and empowered to take all actions necessary to

18   implement the relief granted in this Order.

19           5.      This Court shall retain jurisdiction with respect to all matters arising from or related

20   to the implementation, interpretation, or enforcement of this Order.

21           IT IS SO ORDERED.

22   Submitted by:                                      Approved:
     CLARK HILL PLC                                    OFFICE OF THE U.S. TRUSTEE
23

24   CANDACE C. CARLYON, ESQ.                   JARED A. DAY, ESQ.
     TRACY M. O'STEEN, ESQ.                     300 Booth Street, Room 3009
25   3800 Howard Hughes Parkway, Suite 500       Reno, NV 89509
     Las Vegas, NV 89169                        Telephone: (775) 784-5335
26   [Proposed] Counsel for Debtors              Facsimile: (775) 784-5531
                                    LR 9021 CERTIFICATION
27

28

                                                       -2-
     Case 19-50130-btb        Doc 9    Entered 02/04/19 14:58:04       Page 11 of 11



 1
           In accordance with LR 9021, an attorney submitting this document certifies as
 2
       follows (check one):
 3
       ___ The court has waived the requirement set forth in LR 9021(b)(1).
 4
       ___ No party appeared at the hearing or filed an objection to the motion.
 5
       ___I have delivered a copy of this proposed order to all attorneys who appeared at the
 6
       hearing and opposed the relief, and each has approved or disapproved the order, or
 7
       failed to respond, as indicated below [list each party and whether the party has
 8
       approved, disapproved, or failed to respond to the document]:
 9
       Jared A. Day, Esq. – Office of the US Trustee
10
       ___ I certify that this is a case under chapter 7 or 13, that I have served a copy of this
11
       order with the motion pursuant to LR 9014(g), and that no party has objected to the
12
       form or content of the order.
13
                                                   ###
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    -3-
